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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             NORTHERN DIVISION

UNITED STATES OF AMERICA

v.                                                     Case No. 2:12-cr-12-09
                                                       HON. R. ALLAN EDGAR
Robin Gine Voelker,
                                      /

                        ORDER APPROVING AND ADOPTING
                         REPORT AND RECOMMENDATION


      The Court has reviewed the Report and Recommendation filed by the United

States Magistrate Judge in this action. The Report and Recommendation was duly

served on the parties, and no objections have been filed thereto within the time required

by law.

      THEREFORE, IT IS ORDERED that:

      1. The Report and recommendation of the Magistrate filed 8/16/13 #318, is

approved and adopted as the Opinion and Findings of this Court.

      2. Defendant Robin Gine Voelker’s plea of guilty to the Third Superseding Felony

Information: Conspiracy to Distribute and Possess with Intent to Distribute Cocaine Base

is accepted. Defendant Robin Gine Voelker is adjudicated guilty.

      3. A decision of whether to accept the written plea agreement will be made at the

time of sentencing after the Court has had the opportunity to review the Pre-sentence

Investigation Report. See U.S.S.G. Ch. 6.

      SO ORDERED.

      Dated: 9/9/2013

                                                    /s/ R. Allan Edgar
                                                           R. ALLAN EDGAR
                                                UNITED STATES DISTRICT JUDGE
